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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO


NICHOLAS K. MERIWETHER,
                                                    Case No: 1:18-cv-00753-SJD
                               Plaintiff,
                   v.                            THE HONORABLE SUSAN J. DLOTT
THE TRUSTEES OF SHAWNEE STATE                   THE HONORABLE KAREN L. LITKOVITZ
UNIVERSITY, et al.,
                    Defendants.

                               NOTICE OF APPEAL
   Notice is hereby given that Dr. Nicholas Meriwether, plaintiff in the above-

captioned case, hereby appeals to the United States Court of Appeals for the Sixth

Circuit from the Order Adopting Report and Recommendation, Doc. 60, Feb. 12, 2020,

which granted Defendants’ and Defendant-Intervenor’s motions to dismiss this case;

the accompanying Judgment, Doc. 61, Feb. 12, 2020; and the Report and Recommen-

dation, Doc. 49, Sept. 5, 2019, which recommended granting those motions.

   Respectfully submitted this the 12th day of March, 2020,
/s/ Travis C. Barham
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                              CERTIFICATE OF SERVICE
   I hereby certify that on the 12th day of March, 2020, I filed a true and accurate copy

of the foregoing document with the Clerk of Court using the CM/ECF system, which

automatically sends an electronic notification to the following attorneys of record:
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  Respectfully submitted on this the 12th day of March, 2020.

                                           /s/ Travis C. Barham
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